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                                       Exhibit I
    E m a i l C o r re s p o n d e n c e B e t w e e n M i c h a e l N e u s t e l a n d L e s t e r
                                             Wa l l a c e
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